            Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.1 Page 1 of 12

AO 243 (Rev. 09/17)




Name (under which you were convicted):
 Antoine Johnson
Place of Confinement:                                                                Prisoner No.:
 Phoenix FCI                                                                          26559-081
UNITED STATES OF AMERICA                                                          Movant (include name under which convicted)
                                                           V.
                                                                  Antoine Johnson


                                                                MOTION

     1.   (a) Name and location of court which entered the judgment of conviction you are challenging:
           US District Court, Salt Lake City                                     Case: 2:21−cv−00067
                                                                                 Assigned To : Parrish, Jill N.
                                                                                 Assign. Date : 2/1/2021
                                                                                 Description: Johnson v. USA
           (b) Criminal docket or case number (if you know): 18-cr-127-JNP-DBP-1
                                                            -------------------
    2.     (a) Date of the judgment of conviction (if you know): 1/7/2020
                                                   ------------------
           (b) Date of sentencing: 1/3/2020
                                         ----------------------------
     3.    Length of sentence: 96 months and 6 years of supervised release

    4.    Nature of crime (all counts):
           Drug conspiracy, various counts related to drug distribution, use of communication facility, felon in
           possession of firearm, and 18 U.S.C. sec. 924(c)




     5.    (a) What was your plea? (Check one)
                 (1) Notguilty     D                    (2) Guilty    Li,J                  (3) Nolo contendere (no contest)     D
     6.    (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
           what did you plead guilty to and what did you plead not guilty to?

           Heroin distribution




     6.    If you went to trial, what kind of trial did you have? (Check one)                     Jury   I I         Judge onlyD

     7.    Did you testify at a pretrial hearing, trial, or post-trial hearing?           Yes   D                    No[ZJI


                                                                                                                                Page 2 of 13
             Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.2 Page 2 of 12

AO 243 (Rev. 09/17)

    8.    Did you appeal from the judgment of conviction?            Yes   l ✓J             No □
    9.     If you did appeal, answer the following:
           (a) Name of court: T~e~n=th~C~irc~u_it_ _ _ _ _ _ _ _ _ _~ - - - - - - - - - - - - - - - -
           (b) Docket or case number (if you know): 2_0_-4_0_0_6_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           (c) Result: ~r~e~m=a~n=d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           (d) Date of result (if you know): _5~/_12~/_20_2_0_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           (e) Citation to the case (if you know): ~ n ~ o = n ~ e ~ - - - - - - - - - - - - - - - - - - - - - - -
           (f) Grounds raised:

           Improper sealing of plea supplement.




           (g) Did you file a petition for certiorari in the United States Supreme Court?     Yes   D            No[Z]
                 If "Yes," answer the following:
                 (1) Docket or case number (if you know): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 (2) Result: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                 (3) Date ofresult (if you know):
                 (4) Citation to the case (if you know):
                 (5) Grounds raised:




    10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
           concerning this judgment of conviction in any court?
             YesO          No[Z]

    11.    If your answer to Question 10 was "Yes," give the following information:
           (a) (1) Name ofcourt:
                (2) Docket or case number (if you know):
                (3) Date of filing (if you know):
                                                    --------------------------



                                                                                                                     Page 3 of 13
            Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.3 Page 3 of 12

AO 243 (Rev. 09/17)

              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                       YesO           NoO
              (7) Result:
                             -----------------------------------
              ( 8) Date ofresult (if you know):
         (b) If you filed any second motion, petition, or application, give the same information:
              (1) Name of court:
                                     --------------------------------
              (2) Docket of case number (if you know):
                                             ------------------------
              (3) Date of filing (if you know):
              (4) Nature of the proceeding:
              (5) Grounds raised:




              (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                       YesO           NoO
               (7) Result:
                             -----------------------------------
               ( 8) Date of result (if you know):
         (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
          or application?
               (1) First petition:          YesD          No □
               (2) Second petition:         YesLJ         No □
          (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




                                                                                                                    Page 4 of 13
             Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.4 Page 4 of 12

AO 243 (Rev. 09/17)


  12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE:               Ineffective Assistance of Counsel

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
  My lawyer should have been more aggressive add sought dismissal of
  some of the charged counts before negtiating my PLEA Agreement.
  The charges related to the seizure of drugs from my co-defendants
  home, and the charge for possessing a firearm in furtherance of a
  drug trafficking offense-Which put undue pressure on me to plaed
  guilty.




         (b) Direct Appeal of Ground One:
              (1) If you appealed from the judgment of conviction, did you raise this issue?
                       Yes   D         No   I::'.f.
              (2) If you did not raise this issue in your direct appeal, explain why:


                      It was ineffective
          (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       YesO            Nol,,,.,
               (2) If you answer to Question (c)(l) is "Yes," state:
               Type of motion or petition:
              Name and location of the court where the motion or oetition was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion, petition, or application?
                       YesO            Nol     ✓1

                                                                                                                    Page 5 of 13
            Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.5 Page 5 of 12

AO 243 (Rev. 09/17)

              (4) Did you appeal from the denial of your motion, petition, or application?
                       YesO           No   Gr'
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesO           No[2(


              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




GROUND TWO:                Gun .Enhancement


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

   My attorney should have objected to the 2-level enhancement for
    possessing a firearm. For that emhancement to apply, there needed
    to be a connection between the drugs and the recovered firearm. But
    the presentence report makes clear that the gun was recovered from my
    house, where no drugs were found.




         (b) Direct Appeal of Ground Two:

              (1) If y~:sT~~ted f r : czr9gment of conviction, did you raise this issue?




                                                                                                                    Page 6 of 13
             Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.6 Page 6 of 12

AO 243 (Rev. 09/17)



              (2) If you did not raise this issue in your direct appeal, explain why:


                  Ineffective for not objecting to the gun
         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       Yes   D           No[Z(
              (2) If you answer to Question (c)(1) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                       YesO              No~
              (4) Did you appeal from the denial of your motion, petition, or application?
                       YesO          ·   No[a('
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesLJ             No[2Jr
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
                             a
              Result (attach copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(S) is "No," explain why you did not appeal or raise this
              issue:




                                                                                                                   Page 7 of 13
            Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.7 Page 7 of 12

AO 243 (Rev. 09/17)

GROUND THREE:                     Duplicity and Multiplicity of counts charged

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
   MY attorney did not seek dismissal of charges that did not pertain to
   defendant. Counts 1,2,3,4,5,6,7,9,10,11,12,14.
   Which put undue pressure on the defendant to plead guilty.




         (b) Direct Appeal of Ground Three:

              (1) If y~:si~~yled f r : rYrdgment of conviction, did you raise this issue?


              (2) If you did not raise this issue in your direct appeal, explain why:




         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                       YesO           NoLJ
              (2) If you answer to Question (c)(l) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion, petition, or application?
                       YesO           No[2jf
               (4) Did you appeal from the denial of your motion, petition, or application?
                       Yes   Im   J   No    [2j
               (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesO           NoG



                                                                                                                    Page 8 of 13
            Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.8 Page 8 of 12

AO 243 (Rev. 09/17)


              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(S) is "No," explain why you did not appeal or raise this
              issue:




GROUNDFOUR:               C.I. being stripped of CI status

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
   My attorney failed to bring up the fact that during the investigation
   that the C.I. who in fact had been an agent of the above mentioned
   case. My attorney knew before I plead guilty that the man who co-
   operated against me was dirty and had been caught with five pounds
   of meth. My attorney did not inform me of these facts before I plead
   guilty. If my lawyet had informed me of this fact, I would not have
   plead guilty and instead would hae gone to trial, where I would have
   tried to beat the charges by attacking the cooperator's credibility.

              (1) If y~~sTpeted     fr:
         (b) Direct Appeal of Ground Four:
                                          ~gment of conviction, did you raise this issue?


               (2) If you d\d not raise this issue in your direct appeal, explain why:




          (c) Post-Conviction Proceedings:
               (1) Did you raise this issue in any post-conviction motion, petition, or application?
                               .           r:;:i/
                       YesLJ          NoL.....:.J

               (2) If you answer to Question (c)(l) is "Yes," state:



                                                                                                                    Page 9 of 13
             Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.9 Page 9 of 12

AO 243 (Rev. 09/17)

              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                       YesO           No[a
              (4) Did you appeal from the denial of your motion, petition, or application?
                       YesO           No0
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesO           Noe::(
              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:
              At the time of my appeal I was not aware of the total facts that
              I am raising at this time.




  13.    Is there any ground in this motion that you have not previously presented in some federal court? If so, which
         ground or grounds have not been presented, and state your reasons for not presenting them:




                                                                                                                  Page 10 of 13
          Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.10 Page 10 of 12

AO 243 (Rev. 09/17)

  14.    Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
         you are challenging?          Yes   D         No   Lt:'f
         If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the
         issues raised.




  15.    Give the name and address, if known, of each attorney who represented you in the following stages of the
         judgment you are challenging:
         (a) At the preliminary hearing:


         (b) At the arraignment and plea:
         Carolyn Perkins PO BOX 520704 Salt Lake City, Utah 84106
         (c) At the trial:


         (d) At sentencing:
          Carolyn Perkins PO BOX 520704 Salt Lake City, Utah, 84106
         (e) On appeal:

           Antoine Johnson #26559-081 FCI Phoenix, Phoenix AZ. 85086
         (f) In any post-conviction proceeding:


         (g) On appeal from any ruling against you in a post-conviction proceeding:




  16.    Were you sentenced on more than one c..o. urt of an in~.i.ct•ent, or on more than one indictment, in the same court
         and at the same time?         Yes       D         No ~

  17.    Do you have any future sentence to serve aft~.r
                                                       yo complete the sentence for the judgment that you are
         challenging?            Yes    D        No l::J
         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




         (b) Give the date the other sentence was imposed:
                                                                -----------------------
          (c) Give the length of the other sentence:
                                                       --------------------------
          (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
          sentence to be served in the future?          Yes   I .. i    No   ~
                                                                                                                    Page 11 of 13
           Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.11 Page 11 of 12

AO 243 (Rev. 09/17)


  18.     TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
          why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

   Not completely sure if the Statute of Limitations have run out or not
   Yet, due to the COVID-19 outbreak this has caused an undue hardship
   upon myself. Since there is a time line constraint that needs to be
   met. I have very limited, if NO access to the Law Library or to the
   Courts where I can research what i need to in order to file this
   motion and get it in in a timely manner.
   I have sent a motion to extend my time line for the filing of this
   motion. It has yet to be ruled on.




        * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2255,
        paragraph 6, provides in part that:
           A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
           from the latest of -
               (1) the date on which the judgment of conviction became final;
               (2) the date on which the impediment to making a motion created by governmental action in violation of
               the Constitution or laws of the United States is removed, if the movant was prevented from making such a
               motion by such governmental action;
               (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
               been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
               review; or
               (4) the date on which the facts supporting the claim or claims presented could have been discovered
               through the exercise of due diligence.


                                                                                                                  Page 12 of 13
                           Case 2:21-cv-00067-JNP Document 1 Filed 02/01/21 PageID.12 Page 12 of 12

                 AO 243 (Rev. 09/17)




                 Therefot·e, movant asks that the Court grant the following relief:
                    Vacate the Conviction or Remove the Gun Enhancement

                 or any other relief to which movant may be entitled.




                                                                                        Signature of Attorney (if any)




                 I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
                 under 28 U.S.C. § 2255 was placed in the prison mailing system on __J J,2'2 />2.,. \                                         .
                                                                                                           (month, date, year)




                 Executed (signed) on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (date)




                 If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.


                                      7/~e~i/2                                        -~~/
                                  /;/4 .///s                                  '<::?
                                                                             I v .I      t,U/    //4u-l
                            /'h,/l
                                           IYl-o . /
J.,. .: -. , ,     ✓<c-/               a                                                     J
)_ (}{ 1/ -e_          _/,,,(,: C




                                                                                                                                      Page 13 of 13
